 Fill in this information to identify your case and this filing:

  Debtor 1                          Mark                         Quinn                      Warren
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                       Western District of Washington
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                   21-12203                                                                                                                               amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1      Residence - Co-owned with brother -                            What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
               Chris Warren                                                  ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D: Creditors

                                                                             ❑ Duplex or multi-unit building
              Street address, if available, or other                                                                                                       Who Have Claims Secured by Property.
              description
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
              2432 Oakes Ave                                                 ❑ Manufactured or mobile home                                               entire property?                portion you own?
                                                                             ❑ Land                                                                                    $435,000.00                    $217,500.00
              Everett, WA 98201                                              ❑ Investment property
              City                               State        ZIP Code       ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
              Snohomish
                                                                             ❑ Other                                                                     estate), if known.
              County                                                          Who has an interest in the property? Check one.
                                                                                                                                                           Fee Simple
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ✔ At least one of the debtors and another
                                                                                                                                                              (see instructions)
                                                                             ❑
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:

                                                                             Source of Value:
                                                                             Appraisal
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $217,500.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1

                        Case 21-12203-MLB                                 Doc 9             Filed 12/22/21                       Ent. 12/22/21 21:41:58                            Pg. 1 of 44
 Debtor 1                   Mark                          Quinn                             Warren                                                             Case number (if known) 21-12203
                            First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   Buick                     Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the

                                                   LaSabre
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D: Creditors

                                                                             ❑ Debtor 2 only
            Model:                                                                                                                                           Who Have Claims Secured by Property.

                                                   1998                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                                                                                                                           entire property?             portion you own?
            Approximate mileage:                                                                                                                                          $1,000.00                   $1,000.00

            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




      If you own or have more than one, list here:

       3.2 Make:                                   Ford                      Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the

                                                   Ranger
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D: Creditors

                                                                             ❑ Debtor 2 only
            Model:                                                                                                                                           Who Have Claims Secured by Property.

                                                   1984                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                                                                                                                           entire property?             portion you own?
            Approximate mileage:                                                                                                                                            $200.00                     $200.00

            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)
             This car does not run




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                  ➜              $1,200.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                    Current value of the
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                      page 2

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 Debtor 1              Mark                   Quinn                     Warren                                            Case number (if known) 21-12203
                       First Name             Middle Name               Last Name



 6.    Household goods and furnishings
       Examples:    Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      Household Goods and Furnishings
                                                                                                                                                             $3,235.60


 7. Electronics
       Examples:    Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                    electronic devices including cell phones, cameras, media players, games
       ✔ No
       ❑
       ❑ Yes. Describe........

 8.    Collectibles of value
       Examples:    Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                    stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:    Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                    carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      Various musical instruments                                                                                            $3,000.00



 10.    Firearms
        Examples:    Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:    Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      Wearing apparel and shoes                                                                                               $200.00



 12.    Jewelry
        Examples:    Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        ✔ No
        ❑
        ❑ Yes. Describe........


 13.    Non-farm animals
        Examples:    Dogs, cats, birds, horses
        ✔ No
        ❑
        ❑ Yes. Describe........




Official Form 106A/B                                                              Schedule A/B: Property                                                    page 3

                    Case 21-12203-MLB                      Doc 9         Filed 12/22/21              Ent. 12/22/21 21:41:58                  Pg. 3 of 44
 Debtor 1                    Mark                              Quinn                                Warren                                                                      Case number (if known) 21-12203
                             First Name                        Middle Name                           Last Name



 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                   50 books
                                                                                                                                                                                                                        $50.00



 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here........................................................................................................................................➜                                  $6,485.60




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                           Current value of the
                                                                                                                                                                                                        portion you own?
                                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                                        claims or exemptions.


 16.   Cash
       Examples:          Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ❑ No
       ✔ Yes........................................................................................................................................................ Cash..............
       ❑                                                                                                                                                                                                                $20.00


 17.   Deposits of money
       Examples:          Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                          similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                              Institution name:



       17.1. Checking account:


       17.2. Checking account:


       17.3. Savings account:                                  Northwest Plus Credit Union                                                                                                $862.05


       17.4. Savings account:


       17.5. Certificates of deposit:


       17.6. Other financial account:


       17.7. Other financial account:


       17.8. Other financial account:


       17.9. Other financial account:




Official Form 106A/B                                                                                                Schedule A/B: Property                                                                          page 4

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 Debtor 1                 Mark                   Quinn                   Warren                                            Case number (if known) 21-12203
                          First Name             Middle Name             Last Name



 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
       Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

       Name of entity:                                                                    % of ownership:




 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

       Issuer name:




 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
       Type of account:                Institution name:

       401(k) or similar plan:


       Pension plan:


       IRA:


       Retirement account:


       Keogh:


       Additional account:




Official Form 106A/B                                                               Schedule A/B: Property                                                    page 5

                      Case 21-12203-MLB                     Doc 9         Filed 12/22/21             Ent. 12/22/21 21:41:58                 Pg. 5 of 44
 Debtor 1                 Mark                      Quinn                Warren                                       Case number (if known) 21-12203
                          First Name                Middle Name          Last Name



 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
                                    Institution name or individual:

       Electric:


       Gas:


       Heating oil:


       Security deposit on rental unit:


       Prepaid rent:


       Telephone:


       Water:


       Rented furniture:


       Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
       Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
       Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....




Official Form 106A/B                                                              Schedule A/B: Property                                                page 6

                      Case 21-12203-MLB                          Doc 9   Filed 12/22/21             Ent. 12/22/21 21:41:58             Pg. 6 of 44
 Debtor 1              Mark                     Quinn                 Warren                                             Case number (if known) 21-12203
                       First Name               Middle Name            Last Name



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:     Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:     Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                     professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                     Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured
                                                                                                                                                   claims or exemptions.


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about                                                                           Federal:
                 them, including whether you
                 already filed the returns and the                                                                         State:
                 tax years.......................
                                                                                                                           Local:



 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                           Alimony:

                                                                                                                           Maintenance:

                                                                                                                           Support:

                                                                                                                           Divorce settlement:

                                                                                                                           Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




Official Form 106A/B                                                            Schedule A/B: Property                                                        page 7

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 Debtor 1                   Mark                          Quinn                              Warren                                                               Case number (if known) 21-12203
                           First Name                      Middle Name                       Last Name



 31.   Interests in insurance policies
       Examples:         Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.       Name the insurance company
                                                                           Company name:                                                             Beneficiary:                       Surrender or refund value:
                    of each policy and list its value....




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                             $882.05



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                                          Current value of the
                                                                                                                                                                                          portion you own?
                                                                                                                                                                                          Do not deduct secured
                                                                                                                                                                                          claims or exemptions.




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                      page 8

                       Case 21-12203-MLB                                    Doc 9             Filed 12/22/21                        Ent. 12/22/21 21:41:58                         Pg. 8 of 44
 Debtor 1                   Mark                          Quinn                              Warren                                                               Case number (if known) 21-12203
                           First Name                      Middle Name                       Last Name



 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
       Name of entity:                                                                                               % of ownership:

                                                                                                                                            %


 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........




 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                             $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.

Official Form 106A/B                                                                                       Schedule A/B: Property                                                                   page 9

                       Case 21-12203-MLB                                    Doc 9             Filed 12/22/21                        Ent. 12/22/21 21:41:58                         Pg. 9 of 44
 Debtor 1                    Mark                            Quinn                               Warren                                                                  Case number (if known) 21-12203
                            First Name                       Middle Name                          Last Name



                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                 portion you own?
                                                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                                                 claims or exemptions.

 47.   Farm animals
       Examples:          Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                                    $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                                     $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                        $217,500.00



Official Form 106A/B                                                                                            Schedule A/B: Property                                                                     page 10

                       Case 21-12203-MLB                                     Doc 9               Filed 12/22/21                          Ent. 12/22/21 21:41:58                          Pg. 10 of 44
 Debtor 1                 Mark                         Quinn                            Warren                                                           Case number (if known) 21-12203
                          First Name                    Middle Name                     Last Name



 56.   Part 2: Total vehicles, line 5                                                                              $1,200.00


 57.   Part 3: Total personal and household items, line 15                                                         $6,485.60


 58.   Part 4: Total financial assets, line 36                                                                       $882.05


 59.   Part 5: Total business-related property, line 45                                                                 $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                        $0.00


 61.   Part 7: Total other property not listed, line 54                                      +                          $0.00


 62.   Total personal property. Add lines 56 through 61..............                                              $8,567.65          Copy personal property total➜       +                $8,567.65




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                        $226,067.65




Official Form 106A/B                                                                                 Schedule A/B: Property                                                                  page 11

                     Case 21-12203-MLB                                Doc 9             Filed 12/22/21                     Ent. 12/22/21 21:41:58                        Pg. 11 of 44
 Fill in this information to identify your case:

  Debtor 1                    Mark                 Quinn                Warren
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                     Western District of Washington

  Case number                           21-12203                                                                                       ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                         04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B
 Brief description:
                                                                                         ❑                                        Wash. Rev. Code. § 6.13.030(b)
                                                                                         ✔
  Residence - Co-owned with brother - Chris Warren                       $217,500.00
  2432 Oakes Ave Everett, WA 98201                                                       ❑    100% of fair market value, up to    (Claimed: $549,400.00)
                                                                                              any applicable statutory limit
 Line from
 Schedule A/B:          1.1


                                                                                         ✔
 Brief description:
 1998 Buick LaSabre                                                         $1,000.00
                                                                                         ❑                 $1,000.00              Wash. Rev. Code. § 6.15.010(1)(d)(iii)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ❑ No
      ✔ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
      ❑
         ✔ No
         ❑
         ❑ Yes



Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2




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 Debtor 1             Mark               Quinn                   Warren                                           Case number (if known) 21-12203
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the       Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from        Check only one box for each exemption.
                                                        Schedule A/B

                                                                                   ✔
 Brief description:
 1984 Ford Ranger                                                      $200.00
                                                                                   ❑                 $200.00                  Wash. Rev. Code. § 6.15.010(1)(d)(ii)

  This car does not run                                                            ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:        3.2


                                                                                   ✔
 Brief description:
 Household Goods and Furnishings                                     $3,235.60
                                                                                   ❑                $3,235.60                 Wash. Rev. Code. § 6.15.010(1)(d)(i)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:            6


                                                                                   ✔
 Brief description:
 Various musical instruments                                         $3,000.00
                                                                                   ❑                $3,000.00                 Wash. Rev. Code. § 6.15.010(1)(d)(i)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:            9


                                                                                   ✔
 Brief description:
 Wearing apparel and shoes                                             $200.00
                                                                                   ❑                 $200.00                  Wash. Rev. Code. § 6.15.010(1)(a)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:            11


                                                                                   ✔
 Brief description:
 50 books                                                                 $50.00
                                                                                   ❑                 $50.00                   Wash. Rev. Code. § 6.15.010(1)(d)(i)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:            14


                                                                                   ✔
 Brief description:
 Cash                                                                     $20.00
                                                                                   ❑                 $20.00                   Wash. Rev. Code. § 6.15.010(1)(d)(ii)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:            16


                                                                                   ✔
 Brief description:
 Northwest Plus Credit Union                                           $862.05
                                                                                   ❑                 $862.05                  Wash. Rev. Code. § 6.15.010(1)(d)(ii)

 Savings account                                                                   ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:            17




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                     page 2 of 2




                  Case 21-12203-MLB                Doc 9         Filed 12/22/21             Ent. 12/22/21 21:41:58                Pg. 13 of 44
 Fill in this information to identify your case:

  Debtor 1                       Mark                    Quinn                 Warren
                                 First Name              Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name          Last Name

  United States Bankruptcy Court for the:                            Western District of Washington

  Case number                             21-12203                                                                                                      ❑    Check if this is an
  (if known)                                                                                                                                                 amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for            Column A               Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much           Amount of claim        Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                                Do not deduct the      that supports         portion
                                                                                                                            value of collateral.   this claim            If any
 2.1 Internal Revenue Service                                Describe the property that secures the claim:                           $4,144.55                  $0.00              $4,144.55
        Creditor's Name
         PO Box 7346
        Number          Street
         Philadelphia, PA 19101-7346                         As of the date you file, the claim is: Check all that apply.
        City                      State       ZIP Code       ❑Contingent
        Who owes the debt? Check one.                        ❑Unliquidated
        ✔ Debtor 1 only
        ❑                                                    ✔ Disputed
                                                             ❑
        ❑Debtor 2 only                                       Nature of lien. Check all that apply.
        ❑Debtor 1 and Debtor 2 only                          ❑An agreement you made (such as mortgage or
        ❑At least one of the debtors and another                 secured car loan)
        ❑Check if this claim relates to a                    ❑Statutory lien (such as tax lien, mechanic's lien)
           community debt
                                                             ❑Judgment lien from a lawsuit
        Date debt was incurred                               ❑Other (including a right to offset)
                                                             Last 4 digits of account number

         Add the dollar value of your entries in Column A on this page. Write that number here:                                             $4,144.55




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
                    Case 21-12203-MLB                          Doc 9          Filed 12/22/21                 Ent. 12/22/21 21:41:58                     Pg. 14 of 44
 Debtor 1              Mark                Quinn                     Warren                                                Case number (if known) 21-12203
                       First Name          Middle Name               Last Name


                                                                                                                   Column A               Column B              Column C
              Additional Page
                                                                                                                   Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                   Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                  value of collateral.   this claim            If any



 2.2 Snohomish County Treasurer                     Describe the property that secures the claim:                          $18,600.00           $217,500.00                   $0.00
     Creditor's Name
                                                     Residence - Co-owned with brother - Chris Warren
      3000 Rockefeller M/S 501                       2432 Oakes Ave Everett, WA 98201
     Number          Street
      Everett, WA 98201-4060                        As of the date you file, the claim is: Check all that apply.
     City                     State   ZIP Code      ❑Contingent
     Who owes the debt? Check one.                  ❑Unliquidated
     ❑Debtor 1 only                                 ❑Disputed
     ❑Debtor 2 only                                 Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                    ❑An agreement you made (such as mortgage or
     ✔At least one of the debtors and another
     ❑                                                 secured car loan)
     ❑Check if this claim relates to a              ✔Statutory lien (such as tax lien, mechanic's lien)
                                                    ❑
        community debt
                                                    ❑Judgment lien from a lawsuit
     Date debt was incurred                         ❑Other (including a right to offset)
                                                    Last 4 digits of account number




      Remarks: Snohomish County Superior Court, Case No. 21-2-02588-31, In re The Proceeding for
      Snohomish County For the Foreclosure of Liens for Delinquent Real Property Taxes, Interest and
      Costs for years 2018 - 2921 and some years prior.

      Add the dollar value of your entries in Column A on this page. Write that number here:                                      $18,600.00
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                        $22,744.55
      here:




Official Form 106D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
                 Case 21-12203-MLB                    Doc 9          Filed 12/22/21                 Ent. 12/22/21 21:41:58                     Pg. 15 of 44
 Fill in this information to identify your case:

  Debtor 1                   Mark                  Quinn               Warren
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                     Western District of Washington

  Case number                           21-12203                                                                                            ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
        Number           Street                                     As of the date you file, the claim is: Check all that
                                                                    apply.
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
                                                                    ❑ Disputed
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                             ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or person injury while you were
                                                                        intoxicated
        Is the claim subject to offset?                             ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 4

                   Case 21-12203-MLB                    Doc 9         Filed 12/22/21              Ent. 12/22/21 21:41:58                   Pg. 16 of 44
 Debtor 1               Mark                  Quinn                     Warren                                             Case number (if known) 21-12203
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Allied Credit Services                                                    Last 4 digits of account number 1286                                                     $161.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          10/01/2019
        Attn: Bankruptcy Dept
                                                                                  As of the date you file, the claim is: Check all that apply.
        Po Box 2449                                                               ❑ Contingent
                                                                                  ❑ Unliquidated
        Number           Street

                                                                                  ❑ Disputed
        Gig Harbor, WA 98335
        City                              State     ZIP Code
        Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
        ✔
        ❑ Debtor 1 only                                                           ❑ Student loans
        ❑ Debtor 2 only                                                           ❑ Obligations arising out of a separation agreement or
        ❑
                                                                                      divorce that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
        Is the claim subject to offset?                                               MedicalDebt
        ✔ No
        ❑
        ❑ Yes
4.2     Community Health Ctr of Snohomish County                                  Last 4 digits of account number 6291                                                     $124.70
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        Attn: 21743C
                                                                                  As of the date you file, the claim is: Check all that apply.
        PO Box 14000
        Number           Street
                                                                                  ❑ Contingent
        Belfast, ME 04915-4033
                                                                                  ❑ Unliquidated
        City                              State     ZIP Code                      ❑ Disputed
        Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
        ✔ Debtor 1 only
        ❑                                                                         ❑ Student loans
        ❑ Debtor 2 only                                                           ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
        Is the claim subject to offset?                                               Medical Bill
        ✔ No
        ❑
        ❑ Yes
4.3     Providence Health & Services                                              Last 4 digits of account number 7887                                                     $340.87
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        Po Box 3177
                                                                                  As of the date you file, the claim is: Check all that apply.
        Number           Street
        Portland, OR 97208-3177
                                                                                  ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ✔ Debtor 1 only
        ❑                                                                         Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑ At least one of the debtors and another                                     divorce that you did not report as priority claims
        ❑ Check if this claim is for a community debt                             ❑ Debts to pension or profit-sharing plans, and other
                                                                                      similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Medical Bill
        ❑ Yes

Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 4

                   Case 21-12203-MLB                      Doc 9         Filed 12/22/21              Ent. 12/22/21 21:41:58                       Pg. 17 of 44
 Debtor 1              Mark                   Quinn                 Warren                                            Case number (if known) 21-12203
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                           Total claim


4.4     Radia, Inc.                                                          Last 4 digits of account number 7681                                                 $39.98
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        PO Box 34473
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Seattle, WA 98124-1473                                               ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                    ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑
       ✔
                                                                                 Other. Specify
       ❑      No                                                                 Medical Bill
       ❑      Yes
4.5     Swedish Hospital                                                     Last 4 digits of account number 8081                                                $205.76
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        c/o Arstrat
                                                                             As of the date you file, the claim is: Check all that apply.
                                                                             ❑
        PO Box 34191
       Number           Street                                                   Contingent

        Seattle, WA 98124                                                    ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Medical Bill
       ✔
       ❑      No
       ❑      Yes
4.6     The Everett Clinic                                                   Last 4 digits of account number 1785                                                $205.76
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        Po Box 5127
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Everett, WA 98206-5127                                               ❑   Contingent
       City                              State     ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                    ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑
       ✔
                                                                                 Other. Specify
       ❑      No                                                                 Medical Bill
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 3 of 4
                    Case 21-12203-MLB                   Doc 9       Filed 12/22/21             Ent. 12/22/21 21:41:58                       Pg. 18 of 44
 Debtor 1              Mark                 Quinn                   Warren                                     Case number (if known) 21-12203
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                             Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                               $0.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                                $0.00




                                                                                             Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                      $1,078.07
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                            $1,078.07




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 4
                 Case 21-12203-MLB                       Doc 9      Filed 12/22/21          Ent. 12/22/21 21:41:58               Pg. 19 of 44
 Fill in this information to identify your case:

     Debtor 1                   Mark                 Quinn               Warren
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                     Western District of Washington

     Case number                         21-12203                                                                                            ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
                      Case 21-12203-MLB                   Doc 9         Filed 12/22/21             Ent. 12/22/21 21:41:58                   Pg. 20 of 44
 Fill in this information to identify your case:

  Debtor 1                     Mark                   Quinn              Warren
                               First Name            Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)          First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                        Western District of Washington

  Case number                           21-12203                                                                                             ❑      Check if this is an
  (if known)                                                                                                                                        amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                    12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑No
        ✔Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
        Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔No. Go to line 3.
        ❑
        ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑No
          ❑Yes. In which community state or territory did you live?                                       . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                 State     ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
        codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
        Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt
                                                                                                                  Check all schedules that apply:
3.1
      Warren, Christopher
                                                                                                                  ✔Schedule D, line 2.2
                                                                                                                  ❑
      Name
      2432 Oakes Ave
                                                                                                                  ❑Schedule E/F, line
      Number          Street                                                                                      ❑Schedule G, line
      Everett, WA 98201
      City                                  State   ZIP Code




Official Form 106H                                                           Schedule H: Your Codebtors                                                                   Page 1 of 1




                      Case 21-12203-MLB                     Doc 9        Filed 12/22/21           Ent. 12/22/21 21:41:58                     Pg. 21 of 44
 Fill in this information to identify your case:

  Debtor 1                   Mark                  Quinn              Warren
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name                                                   Check if this is:

  United States Bankruptcy Court for the:                    Western District of Washington                                      ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                           21-12203                                                                                      chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                               Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status           ✔Employed ❑Not Employed
                                                                           ❑                                                   ❑Employed ❑Not Employed
     attach a separate page with
     information about additional              Occupation                  Janitor
     employers.
                                               Employer's name             Environment Control of North Seattle, Inc.
     Include part time, seasonal, or
     self-employed work.
                                               Employer's address          7116 220th St SW Ste 11
     Occupation may include student                                         Number Street                                      Number Street
     or homemaker, if it applies.




                                                                           Mountlake Ter, WA 98043-2130
                                                                            City                     State   Zip Code          City                    State      Zip Code
                                               How long employed there? 3 years



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.               $127.73                        $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +             $0.00       +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.               $127.73                        $0.00




Official Form 106I                                                          Schedule I: Your Income                                                                    page 1
                   Case 21-12203-MLB                    Doc 9        Filed 12/22/21              Ent. 12/22/21 21:41:58                    Pg. 22 of 44
 Debtor 1                   Mark                           Quinn                               Warren                                          Case number (if known) 21-12203
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.               $127.73                    $0.00
 5.   List all payroll deductions:
      5a. Tax, Medicare, and Social Security deductions                                                                5a.                $9.75                    $0.00
      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00
      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00
      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00
      5e. Insurance                                                                                                    5e.                $2.47                    $0.00
      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00
      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

      5h. Other deductions. Specify: WA Family Leave                                                                   5h.    +            $0.33       +           $0.00
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.                $12.55                    $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.               $115.18                    $0.00
 8.   List all other income regularly received:
      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.                                8a.                $0.00                    $0.00
      8b. Interest and dividends                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.             $1,182.50                   $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                                   8f.                $0.00                    $0.00
      8g. Pension or retirement income                                                                                 8g.                $0.00                    $0.00

      8h. Other monthly income. Specify:                                                                               8h.    +            $0.00       +           $0.00


 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $1,182.50                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $1,297.68   +                $0.00        =       $1,297.68

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify: Contributions to Household Expenses - from Brother                                                                                                      11. +           $1,352.50
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $2,650.18
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:

Official Form 106I                                                                                        Schedule I: Your Income                                                           page 2
                      Case 21-12203-MLB                                     Doc 9              Filed 12/22/21                Ent. 12/22/21 21:41:58             Pg. 23 of 44
 Fill in this information to identify your case:

  Debtor 1                   Mark                     Quinn                  Warren
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                                                                                                         ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                          Western District of Washington

  Case number                           21-12203                                                                       MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                     Dependent's relationship to          Dependent's         Does dependent live
     Debtor 2.                                                                           Debtor 1 or Debtor 2                 age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                  Sibling                                                       ✔Yes.
                                                                                                                                                   ❑No. ❑
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.                          $0.00


     If not included in line 4:
                                                                                                                                  4a.                        $30.00
     4a. Real estate taxes
                                                                                                                                  4b.                        $80.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                       $180.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.                         $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
                   Case 21-12203-MLB                        Doc 9           Filed 12/22/21          Ent. 12/22/21 21:41:58                 Pg. 24 of 44
 Debtor 1              Mark                   Quinn                    Warren                                Case number (if known) 21-12203
                       First Name             Middle Name               Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                            $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                         $304.07

       6b. Water, sewer, garbage collection                                                                        6b.                         $179.49
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                         $332.00

       6d. Other. Specify:                                                                                         6d.                           $0.00

 7.    Food and housekeeping supplies                                                                              7.                          $600.00

 8.    Childcare and children’s education costs                                                                    8.                            $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                           $44.00

 10. Personal care products and services                                                                           10.                           $0.00

 11.   Medical and dental expenses                                                                                 11.                         $170.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                          $75.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                         $150.00

 14. Charitable contributions and religious donations                                                              14.                           $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                          $0.00
       15a. Life insurance
                                                                                                                   15b.                        $297.00
       15b. Health insurance
       15c. Vehicle insurance                                                                                      15c.                         $80.00

       15d. Other insurance. Specify:                                                                              15d.                          $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                          $38.00

 17. Installment or lease payments:
                                                                                                                   17a.                          $0.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.                          $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                          $0.00
       17c. Other. Specify:
                                                                                                                   17d.                          $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                           $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                           $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                          $0.00
       20b. Real estate taxes                                                                                      20b.                          $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                          $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                          $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                          $0.00




Official Form 106J                                                              Schedule J: Your Expenses                                                page 2
                    Case 21-12203-MLB                      Doc 9        Filed 12/22/21        Ent. 12/22/21 21:41:58         Pg. 25 of 44
 Debtor 1              Mark                  Quinn                   Warren                                           Case number (if known) 21-12203
                       First Name            Middle Name              Last Name



 21. Other. Specify:                                                                                                          21.     +                     $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                            22a.                      $2,559.56

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                                    22b.                          $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                                         22c.                      $2,559.56


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                                       23a.                     $2,650.18

      23b. Copy your monthly expenses from line 22c above.                                                                    23b.     –                $2,559.56

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                              23c.                         $90.62
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ❑No.           Explain here:
      ✔Yes.
      ❑              The Debtor lives with his brother Chris Warren who shares all expenses in the house. Another person, Joey Gray is also living in the house
                     temporarily and is doing home repairs on the property to ready the home for a reverse mortgage refinance. Mr. Gray is also paying for materials
                     and supplies for the repairs as his monthly rent.




Official Form 106J                                                              Schedule J: Your Expenses                                                              page 3
                 Case 21-12203-MLB                      Doc 9        Filed 12/22/21             Ent. 12/22/21 21:41:58                     Pg. 26 of 44
 Debtor 1            Mark              Quinn            Warren                               Case number (if known) 21-12203
                     First Name        Middle Name      Last Name




                                                                                                                               Amount


   7. Food and housekeeping supplies
       Food                                                                                                                     $500.00
       Home Maintenance                                                                                                         $100.00




Official Form 106J                                               Schedule J: Your Expenses                                         page 4
                 Case 21-12203-MLB              Doc 9   Filed 12/22/21         Ent. 12/22/21 21:41:58        Pg. 27 of 44
 Fill in this information to identify your case:

  Debtor 1                         Mark                           Quinn                      Warren
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                        Western District of Washington

  Case number                                   21-12203                                                                                                                            ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $217,500.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                                 $8,567.65


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $226,067.65



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                                  $22,744.55

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                    $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +                   $1,078.07


                                                                                                                                                                  Your total liabilities                       $23,822.62

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $2,650.18


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $2,559.56




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
                      Case 21-12203-MLB                                  Doc 9              Filed 12/22/21                       Ent. 12/22/21 21:41:58                            Pg. 28 of 44
 Debtor 1             Mark                   Quinn                    Warren                                              Case number (if known) 21-12203
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                       $2,662.72




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                             $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                                  $0.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2 of 2
                  Case 21-12203-MLB                      Doc 9        Filed 12/22/21              Ent. 12/22/21 21:41:58                       Pg. 29 of 44
 Fill in this information to identify your case:

  Debtor 1                   Mark                  Quinn            Warren
                             First Name            Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name      Last Name

  United States Bankruptcy Court for the:                    Western District of Washington

  Case number                           21-12203                                                                                     ❑    Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                              12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                            . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                     (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Mark Quinn Warren
        Mark Quinn Warren, Debtor 1


        Date 12/22/2021
                MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                   Case 21-12203-MLB                    Doc 9       Filed 12/22/21            Ent. 12/22/21 21:41:58                Pg. 30 of 44
 Fill in this information to identify your case:

  Debtor 1                   Mark                  Quinn               Warren
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                     Western District of Washington

  Case number                           21-12203                                                                                       ❑   Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                            Dates Debtor 2 lived
                                                              there                                                                           there


                                                                                       ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                            From                                                                            From
    Number      Street                                                                     Number     Street
                                                            To                                                                              To



    City                               State ZIP Code                                      City                       State ZIP Code




                                                                                       ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                            From                                                                            From
    Number      Street                                                                     Number     Street
                                                            To                                                                              To



    City                               State ZIP Code                                      City                       State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 1


                    Case 21-12203-MLB                   Doc 9         Filed 12/22/21              Ent. 12/22/21 21:41:58               Pg. 31 of 44
Debtor 1            Mark                 Quinn                    Warren                                              Case number (if known) 21-12203
                    First Name           Middle Name              Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
                                                   ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                          $2,024.40            bonuses, tips
    date you filed for bankruptcy:
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                          $2,000.00            bonuses, tips
    (January 1 to December 31, 2020         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                          $2,000.00            bonuses, tips
    (January 1 to December 31, 2019         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the        Social Security                           $14,190.00
    date you filed for bankruptcy:                  Social Security for                       $16,230.00
                                                    Sibling - non-debtor




    For last calendar year:                         Social Security1                           $14,011.20
    (January 1 to December 31, 2020         )       Social Security from                      $16,015.20
                                     YYYY           sibling non-debtor




    For the calendar year before that:
    (January 1 to December 31, 2019         )
                                     YYYY




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2

                    Case 21-12203-MLB                  Doc 9           Filed 12/22/21           Ent. 12/22/21 21:41:58                   Pg. 32 of 44
Debtor 1            Mark                     Quinn                        Warren                                          Case number (if known) 21-12203
                    First Name                   Middle Name              Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                           payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ✔No. Go to line 7.
               ❑
               ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                           payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                           this bankruptcy case.

                                                                  Dates of              Total amount paid        Amount you still owe          Was this payment for…
                                                                  payment

                                                                                                                                             ❑Mortgage
             Creditor's Name                                                                                                                 ❑Car
                                                                                                                                             ❑Credit card
             Number        Street                                                                                                            ❑Loan repayment
                                                                                                                                             ❑Suppliers or vendors
                                                                                                                                             ❑Other
             City                        State      ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.
                                                               Dates of               Total amount paid   Amount you still owe       Reason for this payment
                                                               payment



    Insider's Name


    Number      Street




    City                         State      ZIP Code




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Debtor 1            Mark                   Quinn                      Warren                                            Case number (if known) 21-12203
                    First Name              Middle Name               Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                           Dates of               Total amount paid    Amount you still owe      Reason for this payment
                                                           payment                                                               Include creditor’s name



    Insider's Name


    Number       Street




    City                         State     ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                      Nature of the case                         Court or agency                                  Status of the case


                                                                                                                                                 ✔Pending
                                                      (Real Estate Property Taxes)
    Case title        Snohmish County
                      Foreclosure of Property         Snohomish County Superior Court,        Snohomish County Superior Court                    ❑
                                                                                                                                                 ❑On appeal
                                                                                              Court Name
                      Taxes                           Case No. 21-2-02588-31, In re The

                                                                                                                                                 ❑Concluded
                                                      Proceeding for Snohomish County For     3000 Rockefeller Ave M/s 502
    Case number 21-2-02588-31                         the Foreclosure of Liens for Delinquent Number     Street
                                                      Real Property Taxes, Interest and Costs Everett, WA 98201-4046
                                                      for years 2018 - 2921 and some years    City                    State   ZIP Code
                                                      prior.



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.
                                                                       Describe the property                                   Date                 Value of the property



    Creditor’s Name


    Number       Street                                               Explain what happened

                                                                      ❑Property was repossessed.
                                                                      ❑Property was foreclosed.
                                                                      ❑Property was garnished.
    City                           State    ZIP Code                  ❑Property was attached, seized, or levied.


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Debtor 1            Mark                   Quinn                   Warren                                          Case number (if known) 21-12203
                    First Name             Middle Name             Last Name



  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                           Describe the action the creditor took                        Date action was   Amount
                                                                                                                        taken
    Creditor’s Name


    Number      Street



    City                         State     ZIP Code
                                                          Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600 per        Describe the gifts                                          Dates you gave     Value
     person                                                                                                            the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                           State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.




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                     First Name          Middle Name              Last Name

     Gifts or contributions to charities that     Describe what you contributed                                 Date you               Value
     total more than $600                                                                                       contributed



    Charity’s Name




    Number     Street



    City                    State   ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
     Describe the property you lost and         Describe any insurance coverage for the loss                   Date of your loss       Value of property lost
     how the loss occurred                     Include the amount that insurance has paid. List pending
                                               insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                  Description and value of any property transferred             Date payment or        Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid


    Number     Street




    City                    State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




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                    First Name          Middle Name             Last Name



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of any property transferred               Date payment or         Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made

    Person Who Received Transfer


    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of the property transferred                                            Date transfer was
                                                                                                                                             made


    Name of trust




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                    First Name           Middle Name            Last Name
 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Last 4 digits of account number          Type of account or       Date account was           Last balance
                                                                                          instrument               closed, sold, moved, or    before closing or
                                                                                                                   transferred                transfer

    Name of Financial Institution
                                                 XXXX–                                    ❑Checking
                                                                                          ❑Savings
    Number      Street
                                                                                          ❑Money market
                                                                                          ❑Brokerage
                                                                                          ❑Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                  Who else had access to it?                     Describe the contents                         Do you still have
                                                                                                                                               it?

                                                                                                                                             ❑No
    Name of Financial Institution                Name
                                                                                                                                             ❑Yes

    Number      Street                           Number    Street



                                                 City                 State    ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                  Who else has or had access to it?              Describe the contents                         Do you still have
                                                                                                                                               it?

                                                                                                                                             ❑No
    Name of Storage Facility                     Name
                                                                                                                                             ❑Yes

    Number      Street                           Number    Street



                                                 City                 State    ZIP Code

    City                   State    ZIP Code



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                    First Name            Middle Name               Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                    Where is the property?                              Describe the property                            Value
                                                                                                       Personal items, household furnishings and
     Joey Gray                                      2432 Oakes Ave                                     misc
    Owner's Name
                                                   Number      Street

     2432 Oakes Ave
    Number       Street
                                                    Everett, WA 98201
                                                   City                        State   ZIP Code

     Everett, WA 98201-3059
    City                   State   ZIP Code

                                                                                                       Personal items, household furnishings and
    Warren, Chris J                                 2432 Oakes Ave                                     misc                                                          $0.00
    Owner's Name
                                                   Number      Street

     2432 Oakes Ave
    Number       Street
                                                    Everett, WA 98201-3059
                                                   City                        State   ZIP Code

     Everett, WA 98201
    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Governmental unit                              Environmental law, if you know it                      Date of notice


    Name of site                                  Governmental unit



    Number       Street                           Number      Street


                                                  City                 State     ZIP Code


    City                   State   ZIP Code




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Debtor 1             Mark                   Quinn                     Warren                                               Case number (if known) 21-12203
                     First Name             Middle Name               Last Name



  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Governmental unit                           Environmental law, if you know it                   Date of notice


    Name of site                                    Governmental unit



    Number        Street                            Number       Street


                                                    City                  State   ZIP Code


    City                     State    ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Court or agency                             Nature of the case                                  Status of the case


    Case title
                                                    Court Name
                                                                                                                                                    ❑Pending
                                                                                                                                                    ❑On appeal
                                                                                                                                                    ❑Concluded
                                                    Number       Street


    Case number
                                                    City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔No. None of the above applies. Go to Part 12.
    ❑
    ❑Yes. Check all that apply above and fill in the details below for each business.




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                  First Name            Middle Name              Last Name

                                                 Describe the nature of the business                     Employer Identification number
                                                                                                         Do not include Social Security number or ITIN.
    Name
                                                                                                          EIN:           –

    Number     Street
                                                 Name of accountant or bookkeeper                        Dates business existed

                                                                                                          From                   To

    City                  State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                 Date issued



    Name                                        MM / DD / YYYY



    Number     Street




    City                  State   ZIP Code




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                                                                                       for Bankruptcy                                 Pg. 41 of 44              page 11
Debtor 1           Mark                 Quinn                   Warren                                         Case number (if known) 21-12203
                   First Name           Middle Name             Last Name




Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




   ✘ /s/ Mark Quinn Warren
       Signature of Mark Quinn Warren, Debtor 1


       Date 12/22/2021




 Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   ✔ No
   ❑
   ❑Yes
 Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
                                                                                                     Attach the Bankruptcy Petition Preparer’s Notice,
   ❑Yes. Name of person                                                                              Declaration, and Signature (Official Form 119).




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B2030 (Form 2030) (12/15)


                                                    United States Bankruptcy Court
                                                                 Western District of Washington

In re        Warren, Mark Quinn

                                                                                                       Case No.              21-12203

Debtor                                                                                                 Chapter                 13


                                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
        that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
        services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as
        follows:

        For legal services, I have agreed to accept ......................................................................................................................................
                                                                                                                                                $4,000.00

        Prior to the filing of this statement I have received ...........................................................................................................................
                                                                                                                                                     $0.00

        Balance Due ................................................................................................................................................
                                                                                                                                                          $4,000.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                           ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                           ❑ Other (specify)
4.      ✔
        ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
        of my law firm.

        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
        of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
        attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.     Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
               bankruptcy;

        b.     Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:

        The fee is to be paid from reverse mortgage refinance of home.




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B2030 (Form 2030) (12/15)


                                                         CERTIFICATION

                     I certify that the foregoing is a complete statement of any agreement or arrangement for
                payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                       12/22/2021                                         /s/ Christina L. Henry
                Date                                     Christina L. Henry
                                                         Signature of Attorney
                                                                                            Bar Number: 31273
                                                                                       Henry & DeGraaff, P.S.
                                                                                        Henry & DeGraaff, PS
                                                                                             119 1st Ave S 500
                                                                                             Seattle, WA 98104
                                                                                         Phone: (206) 330-0595

                                                                        Henry & DeGraaff, P.S.
                                                         Name of law firm




Date:        12/22/2021                                                /s/ Mark Quinn Warren
                                                       Mark Quinn Warren




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